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                        IN THE UNITED STATES BANKRUPTCY COURT
                           WESTERN DISTRICT OF PENNSYLVANIA

    IN RE:                                            :                  Bankruptcy No.: 19-22715-CMB
                                                      :
    5171 CAMPBELLS LAND CO., INC.                     :                  Chapter 11
                                                      :
    Debtor.                                           :                  Doc. No.
    _________________________________                 :
                                                      :                  Hearing Date and Time:
    UNITED STATES TRUSTE,                             :                  July 15, 2019, 1 p.m.
                                                      :
                   MOVANT,                            :                  Response Deadline:
                                                      :                  July 15, 2019, 12:00 p.m.
             v.                                       :
                                                      :
    5171 CAMPBELLS LAND CO., INC.                     :
                                                      :
                   RESPONDENT.                        :

                  RESPONSE TO UNITED STATES TRUSTEE’S
        EXPEDITED MOTION FOR APPOINTMENT OF CHAPTER 11 TRUSTEE1

         AND NOW, comes Ronald G. Linaburg, D.M.D. (“Dr. Linaburg”), and L-Four, L.P.

(“L4”), by and through their counsel, Michael P. Oliverio, Michael C. Mazack, John J. Heurich

and The Lynch Law Group, LLC, and files the following Response to United States Trustee’s

Expedited Motion for Appointment of Chapter 11 Trustee, and states, as follows:

I.       Factual Background

         1.       5171 Campbells Land Co., Inc. (“Debtor”) filed a voluntary bankruptcy petition

under in this court on July 8, 2019.




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  Dr. Linaburg and L4 are filing the instant Brief in Opposition to the United States Trustee’s Expedited Motion for
Appointment of Chapter 11 Trustee based on their current knowledge of the facts. Dr. Linaburg and L4 hereby reserve
and preserve any and all of their rights, remedies and claims against the debtor, including, without limitation, their
rights to pursue appointment of a Chapter 11 Trustee if, during the course of the instant Chapter 11 Bankruptcy matter
it is discovered at cause exists for such appointment. Dr. Linaburg and L4 further reserve and preserve their right to
supplement, modify or amend the within Response.
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       2.      Previously, Debtor operated twenty-seven Perkins-branded restaurants in

Pennsylvania, Ohio, and New York under license from Perkins & Marie Callender’s LLC

(“PMC”).

       3.      Debtor obtained the restaurants through a bankruptcy sale from Unique Ventures

Group, LLC (“UVG”), which filed for bankruptcy in this court on February 13, 2017, listed as

case No. 17-20526-TPA. Although the Asset Purchase Agreement (the “APA”) effectuating the

sale originally listed 5171 Campbells Land Co., LLC as the buyer, it was later amended to correct

this mere scrivener’s error and reflect that 5171 Campbells Land Co., Inc. was the buyer.

       4.      Pursuant to that APA, Debtor paid $4,770,000.00 for the restaurant assets of UVG.

       5.      On February 25, 3019, L4 filed a Complaint in Confession of Judgment in the Court

of Common Pleas of Allegheny County at GD-19-002820, seeking repayment of a $150,000

Promissory Noted, the entire sum amounting to $231,790.75.

       6.      Prior to the within bankruptcy filing, PMC filed a complaint against Debtor on June

27, 2019 in the Western District of Tennessee (Memphis) at 2:19-cv-02414-JPM-kdv, alleging

breach of contract and trademark violations.

       7.      On those allegations, PMC sought and obtained a Temporary Restraining Order

(“TRO”), which prevents Debtor from operating the Perkins restaurants.

       8.      Additionally, Store Capital Acquisitions, LLC and Store Master Funding XIII, LLC

(collectively, “Store”), which owns 22 of the properties where Perkins restaurants are operated,

filed a claim for breach of contract in the Western District of Pennsylvania at 2:19-cv-00685-PJP

on July 2, 2019.

       9.      Shortly after commencing the instant bankruptcy matter, and recognizing the need

for independent assistance, Debtor engaged Compass Advisory Partners, LLC (“Compass”) to

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serve as Chief Restructuring Officer. Debtor filed an application to engage Compass, which is

currently pending.

       10.      Around that same time, Debtor, Compass and PMC commenced extensive

negotiations regarding the TRO and a temporary license to operate the Perkins restaurants.

       11.      Without any resolution of the TRO, all of the Perkins restaurants owned by Debtor

will be forced to close and Debtor will be forced to terminate approximately 1,000 employees and

devastate both the employees and their families, as well as the employee’s local communities. A

shut down would also impair the ability to operate and market Debtor’s assets as a going concern,

thereby impairing the value to the estate and recoveries by its creditors, including Dr. Linaburg,

L4 and Store.

       12.      The negotiations with Debtor and PMC resulted in a stipulation, providing that

Debtor could operate as a going concern under a temporary license from PMC.

       13.      This stipulation preserves the significant value of the estate, and preserves the status

quo of the employees and their local communities.

       14.      Upon information and belief, Store supports the stipulation between PMC and

Debtor, and further supports the appointment of Compass as the Chief Restructuring Officer.

       15.      Dr. Linaburg and L4, another two of the largest creditors to Debtor, also support

the stipulation between PMC and Debtor, and further supports the appointment of Compass as the

Chief Restructuring Officer.

II.    Legal Argument

       16.      In seeking the appointment of a Chapter 11 trustee, the movant bears the burden to

establish by clear and convincing evidence that a trustee is warranted. In re G-I Holdings, Inc.,



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385 F.3d 313, 317-318 (3d. Cir. 2004); see also In re Sharon Steel Corp., 871 F.2d 1217, 1226

(3d. Cir. 1989).

       17.     Even if cause exists, the bankruptcy court is to exercise its discretion to determine

whether the debtor-in-possession’s conduct “rises to a level sufficient to warrant the appointment

of a trustee.” In re Marvel Entm’t Group, Inc., 140 F.3d 463, 473 (3d. Cir. 1998) (citation omitted).

       18.     Indeed, the appointment a Chapter 11 trustee is an extraordinary remedy, and that

there is a strong presumption that the debtor is entitled to remain in possession. See, e.g., Off’l

Comm. of Unsecured Creditors of Cybergenics Corp., ex rel. Cybergenics Corp. v. Chinery, 330

F.3d 548, 577 (3d. Cir. 2003).

       19.     Such appointment is extraordinary because existing management is in the best

position rescue the debtor from bankruptcy partly due to the cost in replacing the current

management with a team less familiar with both the debtor and the debtor’s market in general. Id.

       A.      The Trustee has not satisfied its heavy burden.

       20.     The Trustee has not set forth any evidence of cause for the appointment of a trustee.

Indeed, there are no factual allegations pertaining to fraud, dishonesty, incompetence or gross

mismanagement. Indeed, all of the Trustee’s allegations are set forth in terms of mere possibilities,

and use qualified language such as “If the sale was effective …” and “If the buyer William Kane

misrepresented…” These types of allegations and statements are simply insufficient and cannot

be said to be “clear and convincing.”

       21.     Moreover, current management, through the proposed restructuring officer, is in

the best position to rescue the Debtor. Indeed, the resolution with PMC alone will preserve

numerous jobs for the employees of the restaurants and will afford the Debtor opportunity to



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operate as a going concern, and the appointment of a trustee will likely sour this resolution and the

ability to rescue the Debtor in an efficient and timely manner.

       B.      The APA contains a mere scrivener’s error.

       22.     The Trustee’s Motion questions whether or not Debtor owns the assets it purchased

from Unique Ventures pursuant to the Asset Purchase Agreement (the “APA”) because such was

executed by 5171 Campbells Land Co., LLC as opposed to 5171 Campbells Land Co., Inc.

       23.     The original APA simply contained a scrivener’s error that was amended to reflect

that 5171 Campbells Land Co., Inc., was the appropriate purchaser.

       C.      The Pre-Bankruptcy litigation does not warrant appointment of a trustee.

       24.     Several of the pre-bankruptcy cases referenced by the Trustee are related matters

that do not support appointment of a trustee. Specifically, those cases are: Steven Maglin v. 5171

Campbells Land Co., LLC, et al; Peter D. Kaplan v. William T. Kane and Marc Group, LLC v.

William T. Kane and 5171 Campbells Land Co., LLC.

       25.     These three cases are each being prosecuted by attorney Joseph Hudak on behalf of

Steven Maglin, Peter D. Kaplan (who is Steven Maglin’s father-in-law) and Marc Group, LLC.

Two issues appear to pervade these case: (1) whether Debtor and/or its principals breached an

agreement to provide employment to Steven Maglin, and (2) whether William Kane breached a

promissory note with Peter D. Kaplan in the amount of $125,000.

       26.     The first issue appears only in the Steven Maglin case and regards an alleged

employment agreement. This matter is currently at the preliminary objection stage.

       27.     The second issue appears in both the Peter D. Kaplan and Marc Group, LLC cases.

In those matters, a confession of judgment was effectuated against William Kane and attorney

Joseph Hudak has improperly executed such judgment to obtain an ex parte order purporting to

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transfer William Kane’s interest in the Debtor to Peter D. Kaplan. The order was later vacated and

the judgment has been opened.

         28.   The litigation between PMC and Debtor has also resulted in a stipulation amending

the Tennessee Court’s TRO to permit Debtor to operate under a temporary license, as addressed

above.

         D.    The allegations against William Kane do not support appointment of a trustee.

         29.   The Trustee simply asserts conclusory allegations regarding William Kane’s

conduct, without any evidentiary support. As such, the allegations cannot satisfy the Trustee’s

burden.

         30.   Moreover, William Kane did not personally purchase the assets, Debtor was the

purchaser. William Kane is merely a 40% stakeholder in Debtor.

         31.   And, upon information and belief, Compass is evaluating the retention of special

litigation counsel to review legal issues to review various legal issues, including any possible

actions Debtor may possess against insiders.

         E.    Request for an evidentiary hearing and discovery.

         32.   In the event that this Honorable Court is inclined to consider the Trustee’s Motion,

Dr. Linaburg and L4 request an evidentiary hearing to be scheduled after a reasonable period for

discovery.

III.     Conclusion

         33.   For all of the foregoing reasons, this Honorable Court should deny the United States

Trustee’s Expedited Motion for Appointment of a Chapter 11 Trustee.




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       WHEREFORE, creditors, Ronald G. Linaburg, D.M.D., and L-Four, L.P., respectfully

request that this Honorable Court enter an Order denying the United States Trustee’s Expedited

Motion for Appointment of Chapter 11 Trustee.

                                                    Respectfully submitted,

Executed on July 15, 2019                           /s/ Michael P. Oliverio
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